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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



MARK HAYES,

       Plaintiff,

v.
                                                               Civil Action No. 19-12042
IXP CORPORATION and MASSACHUSETTS BAY
TRANSPORTATION AUTHORITY (MBTA),

       Defendants.




                                  NOTICE OF REMOVAL

       Defendant Massachusetts Bay Transportation Authority (“MBTA”) files this Notice of

Removal pursuant to 28 U.S.C. § 1446. As grounds for removal, the MBTA states as follows:

       1.      On September 6, 2019 plaintiff Mark Hayes (“Hayes”) commenced an action

against defendants IXP Corporation (“IXP”) and the MBTA in the Commonwealth of

Massachusetts, Norfolk Superior Court captioned Mark Hayes v. IXP Corporation and

Massachusetts Bay Transportation Authority (MBTA), Civil Action No. 19-1140 (the “State

Court Action”).

       2.      The Complaint filed in the State Court Action (the “Complaint”) alleges that,

Hayes is a natural person residing in Norfolk County, Massachusetts and that, in connection with

his employment, Hayes was “discriminated against and terminated . . . without due process

because of protected speech, race and national origin.” The Complaint further alleges that he

was not paid certain wages due upon termination and that he was not properly notified of his

right under the Consolidated Omnibus Reconciliation Act.
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       2.      The Complaint includes the following claims arising under the Constitution or

laws or the United States within the meaning of 28 U.S.C. § 1331:

       Count One: alleged violation of the First Amendment of the U.S. Constitution (Free

Speech) brought pursuant to 42 U.S.C. § 1983.

       Count Three: alleged violation of the Fifth and Fourteenth Amendments (Due Process)

to the U.S. Constitution brought pursuant to 42 U.S.C. § 1983.

       Count Five:     alleged violation of the Fourteenth Amendment (Race-Based Equal

Protection) brought pursuant to 42 U.S.C. § 1983.

       Count Seven: alleged violation of the Fourteenth Amendment (National Origin-Based

Equal Protection) brought pursuant to 42 U.S.C. § 1983.

       Count Twelve: alleged violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C.

§ 2000e et seq. (Race-Based Employment Discrimination) brought pursuant to 42 U.S.C.

§ 2000e-5.

       Count Thirteen: alleged violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C.

§ 2000e et seq. (National Origin-Based Employment Discrimination) brought pursuant to 42

U.S.C. § 2000e-5.

       Count Sixteen (against IXP only): alleged violation of 29 U.S.C. § 1161 and 1166

brought pursuant to 29 U.S.C. § 1132.

       4.      The remaining counts of the Complaint filed in the state court action are for

alleged violations of Hayes’ free speech, due process and equal protection rights under the

Massachusetts Constitution; alleged employment discrimination under Mass. Gen. Laws

c. 151B; and alleged failure timely to pay wages in violation of Mass. Gen. Laws c. 149, § 148;


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and common law wrongful termination in violation of public policy (against IXP only). The

state law claims arise from the same alleged facts and circumstances as the federal law claims.

       5.      The claims are within the Court’s jurisdiction under 28 U.S.C. §§ 1331 and 1367

and, thus, are removable under 28 U.S.C. § 1441. See Chicago v. Int’l College of Surgeons, 522

U.S. 156, 164-165 (1997).

       6.      IXP consents to removal of the State Court Action.

        7.     A copy of the Summons, Civil Tracking Order and the Complaint served on the

MBTA are attached hereto as Exhibit A, B. and C, respectively. No other process, pleadings and

orders in the State Court Action have been received by the MBTA as of the date hereof.

                                     Respectfully submitted,

                                     MASSACHUSETTS BAY TRANSPORTATION
                                     AUTHORITY,

                                     By their attorneys,

                                     /s/ Barbara Gruenthal
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Dated: October 1, 2019




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                                 CERTIFICATE OF SERVICE

I, Barbara Gruenthal, hereby certify that the above document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
and paper copies will be sent to those indicated as non-registered participants on October 1, 2019

                                               /s/ Barbara Gruenthal
                                               Barbara Gruenthal




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